     Case 3:21-cv-00285-M Document 1 Filed 02/08/21                    Page 1 of 5 PageID 1



                 IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
______________________________________
                                        )
EBENCONCEPTS COMPANY,                   )
      Plaintiff,                        )
                                        )
v.                                      ) Civil Action No. ________________
                                        )
DAVID CRUMPLER                          )
                                        )
     Defendants.                        )
______________________________________ )

                            DEFENDANT’S NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

        PLEASE TAKE NOTICE that Defendant David Crumpler hereby removes to this Court

the state court action described below.

                                             I.
                                   JURISDICTIONAL FACTS

        1.      On February 3, 2021 Plaintiff EbenConcepts Company (“Eben”) sued Defendant

David Crumpler for breach of contract, in the 44th Judicial District Court of Harris County, Texas.

Plaintiff also requested injunctive relief and a temporary restraining order was heard and granted

in Plaintiff’s favor on February 3, 2021.

        2.      Defendant was served with a copy of the Plaintiff’s Original Petition, Request for

Temporary Restraining Order, and Application Temporary Injunction on February 3, 2021,

attached hereto under Exhibit A, via email.

        3.      Plaintiff’s Original Petition alleges that Plaintiff, a domestic for-profit corporation,

is owed over $1,000,000 by Defendant Crumpler, a citizen of North Carolina.




Defendant’s Notice of Removal                                                           Page | 1
     Case 3:21-cv-00285-M Document 1 Filed 02/08/21                  Page 2 of 5 PageID 2



                                            II.
                                   GROUNDS FOR REMOVAL

        4.      This action is a civil action which may be removed to this Court by Defendant under

28 U.S.C. §§ 1441(b) and 1332(a)(1) because the district courts of the United States have original

jurisdiction over all actions where, as here, the matter in controversy exceeds the sum of

$75,000.00 and is between citizens of different States. Plaintiff has pleaded an amount in

controversy well over the $75,000 threshold. Plaintiff seeks over $1,000,000 in damages.

        5.      To determine the State citizenship of an individual requires analysis under 28

U.S.C.A. § 1332 (a)(1).

        6.      The citizenship of a corporation is determined by a “nerve center approach”

considering the principal place of business as referring to the place where a corporation’s officers

direct, control, and coordinate the corporation’s activities. Hertz Corp. v. Friend, 559 U.S. 77, 92-

93 (2010). Plaintiff Eben is a citizen of Texas. Eben is a domestic for-profit corporation organized

under the laws of Texas with its principal place of business or “nerve center” located at 5050

Spring Valley, Dallas, Texas 75244.

        7.      Defendant Crumpler is a citizen of North Carolina. Defendant Crumpler is

domiciled and intends to remain in North Carolina. Defendant is not a citizen of Texas, the State

in which Plaintiff filed its action.

        8.      Given these facts removal to this district court is proper based upon this Court’s

original jurisdiction over parties with diverse citizenship.

                                            III.
                                  TIMELINESS OF REMOVAL

        9.      Movant files this Notice of Removal within thirty days of having received the initial

pleading on February 3, 2021, as required under the Code. 28 U.S.C. § 1446(b)(1).




Defendant’s Notice of Removal                                                         Page | 2
     Case 3:21-cv-00285-M Document 1 Filed 02/08/21                 Page 3 of 5 PageID 3



                                           IV.
                                   CONSENT TO REMOVAL

        10.     Defendant consents to the removal of this matter to United States district court as

required under 28 U.S.C. § 1446(b) and Federal Rule of Civil Procedure 11. Defendant David

Crumpler’s consent to removal is attached as Exhibit B. The consent is unambiguous.

                                            V.
                                    NOTICE OF REMOVAL

        11.     Defendant has given notice of this Removal to Plaintiff and to the 44th Judicial

District Court of Dallas County, Texas.

                                             VI.
                                        LOCAL RULE 81

        12.     Per Southern District of Texas Local Rule 81.1, a copy of the Dallas County District

Clerk’s online docket report is attached hereto as Exhibit C, and a list of all parties and counsel

are attached as Exhibit D. The index of matters to be filed is attached as Exhibit A.

                                              VI.
                                          CONCLUSION

        For the foregoing reasons, movant Defendant hereby issues this notice of removal pursuant

to this Court’s diversity jurisdiction under 28 U.S.C. §1441(b) and 1332(a)(1).



                                              Respectfully submitted,

                                              THE VETHAN LAW FIRM, PC

                                              By: /s/ Charles M.R. Vethan

                                                   Charles M.R. Vethan
                                                   Attorney-in-Charge
                                                   State Bar No. 00791852
                                                   Two Memorial City Plaza
                                                   820 Gessner Rd. Suite 1510


Defendant’s Notice of Removal                                                           Page | 3
     Case 3:21-cv-00285-M Document 1 Filed 02/08/21    Page 4 of 5 PageID 4



                                       Houston, Texas 77024
                                       Tel: 713-526-2222
                                       Fax: 713-526-2230
                                       edocs@vwtexlaw.com


                                     Attorneys for Defendant
                                     David Crumpler




Defendant’s Notice of Removal                                      Page | 4
     Case 3:21-cv-00285-M Document 1 Filed 02/08/21              Page 5 of 5 PageID 5



                                  CERTIFICATE OF SERVICE

 I hereby certify that a true and correct of copy of this instrument was served on all parties,
represented through counsel or pro se, through ECF, email and/or Certified Mail, pursuant to the
Federal Rules of Civil Procedure, on this 8th day of February 2021, as follows:

Counsel for Plaintiff EbenConcepts Company

                                                                  Via CM/ECF and Email:

        Jose M. Portela                                           jose@stantonllp.com
        State Bar No. 90001241
        James M. Stanton                                          jms@stantonllp.com
        State Bar No. 24037542
        Jennifer Salim Richards                                   jrichards@stantonllp.com
        State Bar No. 24079262

        STANTON LLP
        1717 Main Street
        Suite 3800
        Dallas, Texas 75201
        Telephone: (972) 233-2300
        Facsimile: (972) 692-6812




                                                    By: /s/ Charles M.R. Vethan
                                                             Charles M.R. Vethan




Defendant’s Notice of Removal                                                      Page | 5
